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                                                                                   FORM 1                                                                                               Page: 1
                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                ASSET CASES
Case Number:       20-01801 TPG                                                                              Trustee:                        Dennis D. Kennedy
Case Name:         Must Cure Obesity Co                                                                      Filed (f) or Converted (c):     05/29/20 (c)
                                                                                                              D 0HHWLQJ'DWH           06/30/20
Period Ending: 03/31/22                                                                                      Claims Bar Date:                08/07/20

                                       1                                     2                              3                          4                   5                        6
                                                                                                   Estimated Net Value                                                         Asset Fully
                                                                          Petition/           (Value Determined By Trustee,         Property           Sale/Funds           Administered (FA)/
                               Asset Description                        Unscheduled              Less Liens, Exemptions,          Abandoned            Received by           Gross Value of
Ref #               (Scheduled And Unscheduled (u) Property)               Values                    and Other Costs)          2$  D $EDQGRQ       the Estate          Remaining Assets

  1     TD Bank Checking 1735                                                         24.00                             0.00                                         0.00          FA
        (see footnote)
  2     Mercedes Benz GLS 500                                                    15,876.13                        15,876.13                                          0.00                   0.00

  3     RocaLabs Nutraceutical                                               103,000.00                                 0.00                                         0.00          FA

  4     Lake, Zachary et al. v. Roca Labs, Inc. et al. Case no.                  Unknown                                0.00                                         0.00          FA
        BC559016, Superior Court of CA, County of Los Angeles
  5     iPayment (now Paysafe) (Roca Labs Nutraceutical USA, Inc.'s          153,000.00                                 0.00                                         0.00          FA
        assets now owned by Debtor)-$153,000-funds owed to Debtor
        frozen by FTC
  6     iPayment (now Paysafe) (Roca Labs Nutraceutical USA, Inc.'s          300,000.00                                 0.00                                         0.00          FA
        assets now owned by Debtor) $300,000 potential lawsuit
  7     WellsFargo Jugaad Co. help for MCO                                   272,365.06                                 0.00                                         0.00                   0.00

  8     WellsFargo USA Distributors Services for MCO                             27,203.12                              0.00                                         0.00                   0.00

  9     PayPal (17-bk-09732 Roca Labs case, money belonging to                   11,580.97                              0.00                                         0.00                   0.00
        MCO mistakenly appropriated for RocaLabs)
        (17-bk-09732 Roca Labs case, money belonging to MCO
        mistakenly appropriated for RocaLabs)
 10     Green Money refund                                                       12,000.00                              0.00                                         0.00                   0.00

 11     potential lawsuit against Green Money                                200,000.00                                 0.00                                         0.00                   0.00

 12     eData (contact: Adam Elisha)                                             32,000.00                              0.00                                         0.00                   0.00

 13     ADV 22-ap-00009 LVV Kennedy v American Express (u)                             0.00                        Unknown                                           0.00               Unknown

 14     ADV 22-ap-00010 LVV Kennedy v Green by Phone Inc dba                           0.00                        Unknown                                           0.00               Unknown
        Green Money (u)
 15     ADV 22-ap-00011 LVV Kennedy v Edata Financial Group, LLC                       0.00                        Unknown                                           0.00               Unknown
        (u)
 16     ADV 22-ap-00012 LVV Kennedy v Ipayment Holdings Inc (u)                        0.00                        Unknown                                           0.00               Unknown

 17     ADV 22-ap-00013 LVV Kennedy v PSR Developers, LLP (u)                          0.00                        Unknown                                           0.00               Unknown

 18     ADV 22-ap-00014 LVV Kennedy v Goodwin et al (u)                                0.00                        Unknown                                           0.00               Unknown
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                                                                               FORM 1                                                                          Page: 2
                                                           INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                            ASSET CASES
  19   ADV 22-ap-00015 LVV Kennedy v Zuckerman et al (u)                       0.00                  Unknown                                            0.00   Unknown

  20   ADV 22-ap-00016 LVV Kennedy v Juravin Inc. (u)                          0.00                  Unknown                                            0.00   Unknown

  21   ADV 22-ap-00017 LVV Kennedy v Jugaad Co (u)                             0.00                  Unknown                                            0.00   Unknown

  22   ADV 22-ap-00018 LVV Kennedy v USA Distributors Service (u)              0.00                  Unknown                                            0.00   Unknown

  23   ADV 22-ap-00019 LVV Kennedy v Natural Vitamins Labratory                0.00                  Unknown                                            0.00   Unknown
       (u)
  24   ADV 22-ap-00020 LVV Kennedy v Juravin et al (u)                         0.00                  Unknown                                            0.00   Unknown

  25   ADV 22-ap-00021 LVV Kennedy v Hershkowitz et al (u)                     0.00                  Unknown                                            0.00   Unknown

TOTALS (Excluding Unknown Values)                                     $1,127,049.28                $15,876.13                                       $0.00        $0.00
Regarding Property #1   TD Bank Checking 1735

Major activities affecting case closing:
11-24-20 - Consolidated with case no 18-06821-LVV Juravin, Don

Initial Projected Date of Final Report (TFR): December 31, 2021                       Current Projected Date of Final Report (TFR): December 31, 2021

               May 25, 2022                                                                          /s/ Dennis D. Kennedy
                  Date                                                                               Dennis D. Kennedy
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                                  Cash Receipts and Disbursements Record
No Accounts for this Case
